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Attorneys for Defendant and Counterclaimant
VERISIGN , INC.



                                          UNITED STATES DISTRICT COURT

                                     NORTHERN DISTRICT OF CALIFORNIA

                                            SAN FRANCISCO DIVISION

IDN TECHNOLOGIES LLC , a limited                        Case No. C- 03- 03029 (PJH)
liability company,

                              Plaintiff                      FILING

                                                        STIPULATION AND (PROPOSED)
                                                        ORDER FOR A BRIEF STAY OF RULING
VERISIGN , INC. , a corporation                         OF CLERK ON TAXATION OF COSTS
                                                        PENDING EXECUTION OF
                              Defendant.                SETTLEMENT AGREEMENT

AND RELATED COUNTERCLAIM




5764084
      STIPULATION AND (PROPOSED) ORDER FOR A BRIEF STAY OF RULING OF CLERK ON TAXATION OF COSTS
                            PENDING EXECUTION OF SETTLEMENT AGREEMENT
                                                                                Case No. C- 03- 03029 (PJH)
                  Case 4:03-cv-03029-PJH Document 133 Filed 07/15/05 Page 2 of 2




                      Plaintill and Coul1terdcfcndant IDN Technologies LLC C' IDNT" ) and Defendant and

        Counterclaimant VeriSign ,       Inc. ("Veri Sign ), through their respective counsel of record , hereby agree

        and stipulate to the entry of the following Stipulation and Proposed Order:
                      WHEREAS , on June 3, 2005 , the Court issued an order staying the Clerk' s determination on

        the taxation of costs until on or after July 13.            2005;

                      WHEREAS , the pal1ics have already reached a settlement in principal , have exchanged

        multiple drafts of the settlement agreement and believe that the settlement agreement will be executed
        within the next few days;

                      WlIEREAS , in view of the anticipated sctt1cment agreement the parties seek a brief stay of the
10 I Clerk' s ruling on the taxation of costs until July 20 , 2005 , as the stay would facilitate the execution of
11 i the settlement agreement , which would dispose of the need tor a ruling on the taxation of costs; and
                      WHEREAS , the parties intend to immediately notify the Clerk once the settlement agreement is

13 i executed.

14 I              NOW TllEREFORE, IT IS llEREBY STIPULATED by and between IDNT and VeriSign to

15 I stay the Clerk' s ruling on the taxation of costs until on or after July 20, 2005.
16 I.   Dated: Julv 13 ,      2005                                                            AUSS llAUER & FELD LLP
17 i

                                                                                                Janna H. Kim
                                                                                        evs for Defendant and Counterclaimant
                                                                                         . VERTS , INC.
        Dated: July 13 ,      2005                            EDWARDS & ANGELL _



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LJ I
                      IT IS SO ORDEREI):
24 i
        Dated: July
                           15' 2005
                                                       U",''''U'''-'''   '_.k____''''''''              _.m_'
                                                                                      Honorable Phyllis J. Hamilton
                                                                                   United States DIstrict Court Judge


28      57640S4
             STIPULAT1CN AND (PROPOSEDj ORDER FOR A BRIEF STAY OF RULING OF CLERK ON TAXATION OF COSTS
                                   PENDrNG EXECUTION or. SE. rTLEi'viENT AGREEMENT
                                                                                       Case No. (;- 03- 03029 (PHI)
